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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

C.D.A., minor child, and MR. A.,                          :
his father; and E.A.Q.A., minor                           :
child, and MR. Q., his father,                            :
                                                          :
                                    Plaintiffs,           :             CIVIL ACTION NO. 21-469
                                                          :
         v.                                               :
                                                          :
UNITED STATES OF AMERICA,                                 :
                                                          :
                                    Defendant.            :

                                          SCHEDULING ORDER

         AND NOW, this 19th day of July, 2023, after holding an initial pretrial conference with

counsel, it is hereby ORDERED as follows:

         1.       The parties shall complete all fact discovery by January 15, 2024;

         2.       Counsel for the plaintiffs shall serve upon counsel for the defendant the information

referred to in Federal Rule of Civil Procedure 26(a)(2)(B) by expert report or answer to expert

interrogatory no later than February 14, 2024. Counsel for the defendant shall serve upon counsel

for the plaintiffs the information referred to in Federal Rule of Civil Procedure 26(a)(2)(B) by

expert report or answer to expert interrogatory no later than March 15, 2024. Counsel shall serve

any rebuttal reports on counsel for every other party and shall conclude expert depositions, if any,

no later than March 22, 2024;

         3.       The parties shall file any dispositive motions by April 22, 2024;

         4.       The parties shall file opposition to any dispositive motions by May 22, 2024;

         5.       The parties shall each file a pretrial memorandum by June 26, 2024; 1



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  Evidentiary concerns that would typically give rise to motions in limine or Daubert motions will be addressed at the
final pretrial conference on July 10, 2024.
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           6.       Each party shall exchange exhibits in accordance with Local Rule of Civil

Procedure 16.1(d). Each party shall also provide the court with one exhibit binder by July 3, 2024.

The exhibit binder shall contain a tabbed copy of each exhibit with a schedule of exhibits, which

briefly describes each exhibit;

           7.       The parties shall submit proposed findings of fact and conclusions of law by July

3, 2024;

           8.       The court will hold a final pretrial conference on Wednesday, July 10, 2024, at

10:00 a.m., at the Holmes Building, 101 Larry Holmes Drive, 4th Floor, Easton, Pennsylvania;

           9.       A nonjury trial shall commence before this court on Monday, July 15, 2023, at

9:00 a.m. at the Holmes Building, 101 Larry Holmes Drive, 4th Floor, Easton, Pennsylvania. This

order shall serve as a formal attachment for trial; and

           10.      This case is REFERRED to United States Magistrate Judge Craig M. Straw for a

settlement conference. 2


                                                                 BY THE COURT:



                                                                 /s/ Edward G. Smith
                                                                 EDWARD G. SMITH, J.




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    Judge Straw’s chambers shall reach out to counsel to coordinate a date for the settlement conference.

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